           Case 2:13-cr-00140-TOR           ECF No. 242   filed 06/05/15   PageID.1151 Page 1 of 2


  SCOTT M. MORSE, SR.                  UNITED STATES DISTRICT COURT                         BRANCH OFFICES
                                          EASTERN DISTRICT OF WASHINGTON                    FEDERAL BUILDING
   CHIEF PROBATION OFFICER
          Thomas S. Foley                        PROBATION OFFICE                          25 S. 3rd Street, Room 326
                                                                                                 PO BOX 1791
       United States Courthouse
                                                                                          YAKIMA, WA 98907-1791
     920 W Riverside, Room 540
            PO BOX 306
                                                    June 4, 2015                      (509) 574-5535 / fax (509) 574-5539
    SPOKANE, WA 99210-0306
                                                                                            FEDERAL BUILDING
 (509) 742-6300 / fax (509) 742-6339
                                                                                           825 Jadwin Ave, Suite 170
                                                                                        RICHLAND, WA 99352-0446
                                                                                      (509) 943-8130 / fax (509) 943-8139
REPLY TO Spokane




   The Honorable Thomas O. Rice
   United States District Court
   Thomas S. Foley United States Courthouse
   920 West Riverside Avenue, 9th Floor
   Spokane, WA 99201-1010

                                                          RE: SILKEUTSABAY, Boualong
                                                          DOCKET NO.: 2:13CR00140-TOR-3
                                                          REQUEST FOR MODIFICATION


   Dear Judge Rice:

   On May 29, 2015, Your Honor ordered that Mr. Silkeutsabay’s conditions of release be modified
   to discontinue the use of electronic monitoring, and instead placed Mr. Silkeutsabay on home
   incarceration. The defendant is required to be in his residence at all times except for medical needs
   or treatment, religious services , court appearances, and at such other times ONLY as pre-approved
   in advance by his pretrial services officer.

   On June 1, 2015, pretrial services, from the Central District of California, contacted the undersigned
   officer to discuss the modification of conditions. Pretrial services indicated that their ability to
   monitor someone on home incarceration without the use of electronic monitoring would be very
   difficult, as they would have no way to know if the defendant was adhering to the condition at all
   times. Therefore, pretrial services in the Central District of California requested that the condition
   placing the defendant on home incarceration be removed.

   On June 1, 2015, Mr. Silkeutsabay visited his pretrial services officer in the Central District of
   California, and discussed modifying his release conditions to remove the condition for home
   incarceration. Mr. Silkeutsabay was in agreement to remove the condition and signed a consent to
   modify conditions of release. Defense counsel was contacted and agreed to the modification and
   signed the form as well.
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June 4, 2015
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The consent to modify conditions of release form is attached for your review and signature. Should
the Court have any further questions, please contact the undersigned officer.

                                              Respectfully submitted,

                                              Scott M. Morse, Sr.
                                              Chief U. S. Probation Officer



                                                     By: s/Stephanie Cherney                  06/04/2015
                                                        Stephanie Cherney                       Date
                                                        U.S. Probation Officer

APPROVED BY:

s/Shane Moore                    06/04/2015
Shane Moore                        Date
Supervising U.S. Probation Officer



THE COURT ORDERS

[ ]      No Action
[ ]      The Extension of Supervision as Noted Above
[ ]      The Modification of Conditions as Noted Above
[XX]     Other The conditions of release currently in place allow
                the supervising officer sufficient discretion to
                effectively monitor Defendant's conduct, without       Signature of Judicial Officer
                placing an undue burden on the officer and while
                                                                              6/5/2015
                imposing the least restrictive measures necessary to
                protect the public and assure Defendant's              Date
                appearance.
